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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 0:18-cv-60403-KMM

  ABS-CBN CORPORATION, et al.,

                Plaintiffs,
  vs.

  ANGPROBINSYANO1.COM, et al.,

                Defendants.
                                                  /

          ORDER GRANTING EX PARTE MOTION FOR ALTERNATE SERVICE

         THIS CAUSE came before the Court upon Plaintiffs Ex Parte Motion for Order

  Authorizing Alternate Service of Process.1 (ECF No. 16). Plaintiffs contend that alternate

  service is appropriate here where Defendants have concealed their physical locations and operate

  through the Internet. Id. For the following reasons, Plaintiffs’ Motion is GRANTED.

         Pursuant to Federal Rule of Civil Procedure 4(f)(3), a district court may direct service at a

  place not within any judicial district of the United States by “other means not prohibited in

  international agreement.” See Chanel, Inc. v. Zhixian, No. 10-cv-60585, WL 1740695, at *2

  (S.D. Fla. Apr. 29, 2010) (quoting Fed. R. Civ. P. 4(f)(3)). Thus service under Rule 4(f)(3) is

  appropriate when alternate service is (1) not prohibited by international agreement; and (2)

  directed by the court. See id. Here, where Defendants’ physical addresses are unknown,

  alternate service is not prohibited by international agreement. See id. (“Article 1 of the Hague

  Service Convention provides that ‘[t]his Convention shall not apply where the address of the

  person to be served with the document is not known.’”) Additionally, in this case, alternate

  1
   Plaintiffs’ motion excludes Defendant No. 18 (pinoyteleseryetambayan.com) and Defendant
  No. (33) pinoytambayantvs.com, who Plaintiffs plan to serve traditionally.
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  service via e-mail comports with constitutional due process, which requires only that service of

  process provide “notice reasonably calculated, under all the circumstances, to apprise interested

  parties of the pendency of the action and afford them an opportunity to present their objections.”

  See id. (quoting Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)).

  Indeed, in light of Plaintiffs’ sworn declarations, the Court is satisfied that electronic service is

  reasonably calculated under these circumstances to notify Defendants of this action. See id.

         For the foregoing reasons and UPON CONSIDERATION of the Motion, the pertinent

  portions of the record, and being otherwise fully advised in the premises, it is hereby ORDERED

  AND ADJUDGED that the Motion is GRANTED.                    Plaintiffs shall serve the Summons,

  Complaint, and all future filings upon Defendants electronically via (1) the e-mail accounts

  provided by Defendants as as part of the domain registration records for each of their respective

  domain names, including service via registrar, (2) the e-mail accounts provided by Defendants

  directly on the Internet websites operating under each of their respective corresponding domain

  names, including customer service e-mail addresses, and onsite contact forms, and/or (3) the e-

  mail accounts contained in the data provided in connection with Plaintiffs’ subpoena as

  permitted by the Order Granting Plaintiffs’ Ex Parte Motion to Take Expedited Discovery (ECF

  No. 11); and (2) via publication by posting a copy of the Complaint and Summonses on the

  Internet website appearing at the URL http://servingnotice.com/BG4NJS0/index.html.

         DONE AND ORDERED in Chambers at Miami, Florida, this 2nd
                                                              ___ day of July, 2018.
                                                                              Digitally signed by K. Michael Moore


                                               K. Michael Moore
                                                                              DN: cn=K. Michael Moore, o=Southern District of
                                                                              Florida, ou=United States District Court,
                                                                              email=k_michael_moore@flsd.uscourt.gov, c=US
                                                                              Date: 2018.07.02 15:39:00 -04'00'
                                                _____________________________________
                                                K. MICHAEL MOORE
                                                CHIEF UNITED STATES DISTRICT JUDGE

  cc:    All counsel of record




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